       Case 3:15-cr-02547-JLS                 Document 141          Filed 06/09/16            PageID.395             Page 1 of 4
AO 245B (CASDRev. 08113) Judgmeut iu a Criminal Case


                                       UNITED STATES DISTRICT COURT                                                       filED
                                                                                                                            .  "

                                          SOUTHERN DISTRICT OF CALIFORNIA                                          . . • JUt-! -9      MI 2S 00
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL                        ~ASE                 .
                                                                                                                                           RT..••••.
                                  V•                                (For Offenses Committed On or After Novellllw\..lIlu.\;9IIilI1Ji!QlCOlJm.
                                                                                                            $O!JTt£11N ilItrffiiCT OF (WJfIlIIIM
           CINTHYA CEJUDO-TRINIDAD (1)                                                                          .         'Tk             ilefUIV
                                                                      Case Number: 15CR2547-JLS             18(:"           I'f

                                                                    Marc Scott Levinson
                                                                    Defendant's Attorney
REGISTRATION NO.                  50795298
D -
~    pleaded guilty to count(s)         1 of the Superseding Information

D   was found guilty on count( s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                             Count
Title & Section                    Nature of Offense                                                                      Number(sl
21 USC 841(a)(1) and 846           Conspiracy to distribute methamphetamine and heroin                                             1




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D    The defendant has been found not guilty on count(s)

~    Count(s)    (underlying Information)                     is          dismissed on the motion of the United States.

~     Assessment: $100.00 imposed



~   No fine                D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    May 27. 2016
                                                                    Date of Imposition of Senten e



                                                                     ON. JANIS L. SAMMARTINO
                                                                    UNITED STATES DISTRICT JUDGE




                                                                                                                          15CR2547-JLS
       Case 3:15-cr-02547-JLS             Document 141        Filed 06/09/16       PageID.396        Page 2 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                CINTHYA CEJUDO-TRINIDAD (I)                                              Judgment - Page 2 of 4
CASE NUMBER:              lSCR2S47-JLS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Thirty-seven (37) months




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 1Zl   The court makes the following recommendations to the Bureau of Prisons:

            1. Residential Drug Abuse Program (RDAP)
           2. GED and vocational training program
           3. Incarceration in the Western Region of the United States

 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o   at _ _ _ _ _ _ _ A.M.                          on _____________________________________

       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:

       Defendant delivered on   _________________________ ro _______________________________

at ________________________ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                        15CR2547 -JLS
                 Case 3:15-cr-02547-JLS                 Document 141               Filed 06/09/16            PageID.397            Page 3 of 4
      AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

      DEFENDANT:                    CINTHYA CEJUDO-TRINIDAD (1)                                                                  Judgment - Page 3 of 4
      CASE NUMBER:                  15CR2547-JLS

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Three (3) years


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13,1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisomnent and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 dmg tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D
            substance abuse. (Check, if applicable.)
IZI         The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
IZI
            Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and NotifIcation Act (42 U.S.C. § 16901, et
D           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check ifapplicable.)
D           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
       1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5) the defendant shall wOIk regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other acceptable
           reasons;
       6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted pennission to do so by the probation officer;
       10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
           observed in plain view of the probation officer;
       11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
           the court; and
       13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
           with such notification requirement.

                                                                                                                                       15CR2547-JLS
       Case 3:15-cr-02547-JLS       Document 141        Filed 06/09/16     PageID.398       Page 4 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            CINTHYA CEJUDO-TRINIDAD (1)                                         Judgment - Page 4 of 4
CASE NUMBER:          15CR2547-JLS


                              SPECIAL CONDITIONS OF SUPERVISION


   1. If deported, excluded or allowed to voluntary return to country of origin, not reenter the United States
      illegally and report to the probation officer within 24 hours of any reentry into the United States;
      supervision waived upon deportation, exclusion, or voluntary departure.




                                                                                               15CR2547-JLS
